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Case 8:19-cv-01163-MWF-AS Document 1 Filed 04/18/19 Page 2 of 13 Page ID #:2
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              lll-13                             LAW ENFORCEMENT AND PROSECUTION                               '/[ Hl.02[CJ

             indicate that the officers had done anything to aggravate the danger confronting the
             deceased•• and hence no liability attached.
                In Clowden v. City of Philadelphia,7° the sixteen year-old son of the plaintiff
              witnessed an attempted arson at his family's residence. An arrest was made, and the
             son agreed to testify for the prosecution. He thereafter received threats regarding his
             testimony, whereupon the plaintiff and her three children were placed in a Witness
             Relocation Program ('WRP) which by its terms was of limite.d d,uration. Shortly after
             their release, the son was shot in the. head and died from the wounds. The plaintiff
             alleged two state-created dangers: first, that the city created a danger by subpoenaing
             the deceased as a witness, and second. that it rendered him m11rP 1mlnPrehlP tn •fan:::P~
             by ~:ii'J:1..::.ti;::.5 ~::: -,,r/run. TIJ.~ C0Ui~ -~,a& u111J61:,uaUt;.(l Uy U1t 1lr&l conLention, because
             "[i]dentifying and subpoenaing witnesses are necessary law enforcement toold that
             cannot be the basis of constitutional liability."71 As to the second argumeni; the court
             noted that the city was under no duty to put the deceased· in a witness· protection
             program, and herice ending that program could not give rise to                           a   constitutfonal
             violation. 72                  ·

                [CJ          ,,__D_en_illI_o_f_D_u~e-'Pr_o_c_es_s_ _$ /2.9-~~ , ~/JC P
                Even if the complainant can convince a court that a special relationship existed, it
             remains essential to a successful claim to show that the action of oj'ficia]s resulted in
            .the d~vation 9!. a co"li_8-!:i_tu~niJ!pr()~li9.!!. F;;-~;£~p1~:·1~-H~~~                ;·B4;1.;-g-q}!_tf!e
            plamtiff's son, a black college student, was killed in a street assault by a group of white
             youths. The complaint alleged that the police knew or should have known that the_
            presence of blacks "on the public streets of Cicero constitute a hazard to their personal
             s3feiv;;;;Tto-pub1ictra~(jii~_iti;'"'-and thj!ttlietafui!:e to-Jlro~f<le ~,<!eqi.i~~_l>!~loction
            resulted in a denial of equal protection of the laws to the deceased. The defendaiii
            ~~edJ!1_at. the. deprivations .of the victim's righ~~ere ·theyroducL0Lm!Y11.te
            actions and nolattributable to the police. The coµrt concluded that in this regard the
            .defendants were incorrect
                   .•··
                     State governments have a basic responsibi!jty to maintain an orderly society. To
                     dis~narge this responsibility, sta(e and lo.£@! officials must tilke reason!!!_)Je steps to__
                 preserve. law and order. and to provide for the. personal safety ofindividul!l
                 members OfJ.Qf~ty, The-Fciiirteenili'Affiffidiiient requires that . state._officials ...
                exerciSe:oiis duty towards all cla!Se~ ()f persol)~ willi@Ydjstillction. Thus, where
                    individuals         attempt~_u~e in:EJidllt~;t,:r;;e ;e~};;ers asp~ of-~ . )
               6
                 ~ ·"Amos was in great danger before the'. officers appeared. Although in theory a very po.or rescue
            attempt could make those needing rescue worse off than if the attempt bad not been made, the probability
            that the conduct of the police officers Jn case·made Amos. worse off is .extremely specuJative/' Id. .at 1091.
              70
                          702 F. Supp. 2d 498 (E.D. Pa. 2010).
              71
                          Id. at 501.
              72          id.
              73
                          277 F. Supp. 864 (N.D. ill. 1967).
              74
                      Id. at 868.

                                                                                                     (Rel. XX-XXXXXXX   Pub.199)
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                Hl•67                        LAW ENFORCEMENT AND PROSECUTION                                '[ 10,04[A][4]

                .of body cavities requires an even higher level of reasonable suspicion and is likewise
                actionable.•• Even when otherwise constitutional, intensive body searches may be
                constitutionally flawed if discriminantly employed. 42 Opposite-sex pat-down searches
                have been held not constitutionally objectionable. 43
                       [4]    Bodily Intrusions
                   Intrusions into the body of the complainant may give rise to a section 1983 action.
               In Barlow v. Ground," the Court of Appeals for the ·Ninth Circuit held that tl1e
               i~ Q..l_i.&fitlCSS t~kil::..; 8f 1 ):;!CC(! .:2...~!e f~!' p~lfI'0~~<;' nf rl~.tP-nnfn1n~ thP- I'f"P,S?-nce Of
               absence of HIV was a violation of the fourth amendment. The court saw no exigent
               circumstances which would justify foregoing the normal warrant procedure.
                  In Winston v. Lee, 45 the Supreme Court declined to approve a court order for the
               surgical removal of a bullet which was believed to have struck the coriiplainant in.an
               exchange of gunfire with a shopkeeper during an attempted robbery. Because of the
               intrusive nature .of the ·seizure, and the potential threat to the life and health of the
               complainant, the Comt concluded that the seizure would violate the fourth amendment.
               The Court used a balancing process in reaching its conclusion and did not foreclose the

                Columbia,461F.Bupp.2d 48 (D. D.C. 2006); Brune v Clark, 466 F:Supp. 2d 105 (D. D.C. 2006), appeal
                dismissed (D.C Cir., June I I, 2007); Jones v. Murphy, 470 F. Supp. 2d 537 (D. Md. 2007); Doe #I v.
                Balaam, 494F. Supp. 2d 1173 (D. Nev. 2007); Creamer v. Raffety, 145 Ariz. 34, 699P.2d908 (Ariz. App.
                1984); Rankin v. Colman, 476 So. 2d 234 (Fla. App. 1985), review denied, 484 So. 2d 7 (Fla 1986);
                Lopez v, Youngblood, 609 F. Supp. 2d H25 (E.D. Cal. 2009); Allison v:UEO Group, Inc., 611 F. Supp.
                2d 433 (E.D. Pa. 2009); Lessley v. City of.Madison, 654 F: Supp. 2d 877 (S.D. Ind. 2009); Foster v. City
                ofOakland, 675 F. Bupp.. 2d 992 (N.D. Cal. 2009); Jones v.City.ofBrunswick, 704 F. Supp. 2d 721 (N.D.
               .Ohio 2010); Dzwonczyk v. Syracuse City Police !)ep't,, 710 F. Supp. 2d 248.(N.D. N.Y, 2008); Batchelor
               v. Fenwick, 710 F. Supp. 2d 811 (S.D. Ind. 2010); Green~. City of Mount Vernon, 96 F. Supp. 3d 263
                (S.D. N.Y. 2015); Blanco v. County of Kings. 142 F. Supp. 3d 986 (E.b. Cal. 2015).                .
               . And see Meeks. v. City of Minneapoli~, 822 F. Suw. 2d 919,' 923 (D          Minn: 2011) ("A public strip
              search of a suspect is more invasive than a 'reach-in' search performed when an officer reaches into a
              ~_uspect's pru;its without disrobing him ~o retrit?:v~ a hidden item from the area surr0;lIDding the suspect's
              buttocks or genitals . . .. Although- 'the availability of a less intrusive alternative does not necessarily
              prove unreasona\:>leness,' case law suggests that,polic;~ officers 'should take.precautions to insure th~t a
              detain~e·s privacy is pn;>~.cted _:frqm exp~s-~~ to others unconnected to the se<ifyh.:. '.').           ·
                 But see Gonzalez v. City of Schenectady, 728 F.3d 149 (2nd Cir. 2013) (right not clearly established).
                41
                    Kennedy v. Los Angeles Police Dep't, 901F.2d702 (9th Ci<. 1989); Justice v. City of Peachtree,
              961 F.2d 188 (11th Cir. 1992); Evans v. Stephe.ru;, 407 F.3d 1272 (I I.th Cir. 2005); f[amilton v. Kindred,
              845 F.3d.659 (5th Cir. 2017); Bolden v. Village of Monticello, 344.F. Supp. id 407 (S.D. N.Y. 2004);
              Brown v. City of Utica, 854 F. Supp.-2d 255 (N.D. N.Y. 2012). . .                    .
                 42
                   Mary Beth G. v.City of Chicago, 723 F.2d 1263 (7th Cir. 1983) (genderdis'~n~tion); Anrnechl
              v. West, 87 F. Sripp. 2d 556 (ED.    va.
                                                   2000), ajfd, ·237 F.3d 356 (4tli Cir. 2001). :
                 Cf .Nelson v. McMullen, 207 F.3d 1202 (10th Cir.· 2000) (no liabillty where detainee voluntarily
              exposed her breasts to convince officers that she did n~t have tattoo si~lar to that of person sought) .
               . 43 Wyatt~~ Slagle, 240 F .. Supp. 2d 931 (S.D. low~ 2002). .        ··.' .              .
                 44
                      943 F.2d 1132 (9th Cir. ·1991 ), cert. denied, 505 U.S. 1206 (1992).
                45
                      470 U.S. 753, 105 S. Ct. 1611, 84 L. Ed. 2d 662 (1985).


                                                                                                       (Rel. XX-XXXXXXX   Pub.199)
Case 8:19-cv-01163-MWF-AS Document 1 Filed 04/18/19 Page 7 of 13 Page ID #:7




                   13-45                             CONSPIRACIES TO INTERFERE                               'l! 13.09[E]
                   For example, in Weiss v. Patrick, 180 plaintiff, a member of the Unification Church,
                   contended that the defendants had deprived her of various constitutional rights
                   through their e:ffort~ to "rJ~progr?..rn." her fram her 2.Heg~e:;ce ta ~he ch:J;-c:h ~I"i the
                   absence of a showing of any compulsion, assault or false imprisonment, the court
                   concluded that the plaintiff had proven no cognizable injury, and that the behavior
                   of the defendants was no more than constitutionally protected behavior.

                      [E]       Going in Disguise.
                      The phrase "go in disguise" as used in section 1985(3) was said in Hardyman
                   v. Collins'"' to be used ":in its ordinary sense."•••
                       It refers to the manner in which the contemporaneous organization at which
                       it was directed,-the Ku Klux Klan-acted, that is, concealment of identity
                       by masks and vestments which covered the entire or part of a person's body
                       to such an extent as to make identification difficult, if not impossible. 183
                  Thus construed, the wear:ing of American Legion caps was held not to constitute
                  a disguise as contemplated by the statute.
                      In Aryan v. Mackey, 184 the Union of Iranian Students sought permission to hold
                   a peaceful demonstration against the Shah ·of Iran on the campus of Texas Tech
                   University. The University granted the permit, with the proviso that the demon·
                   strators could not wear masks. Because the son of the Shah, the Prince of Iran, was
                  residing locally and some anti-Shah demonstrations in other cities had not been
                  peaceful, the University maintained ''that anonymity may encourage the demon-
                   strators to engage :in violent activity which, if they were ieadily identifiable, they
                  might not otherwise undertake. " 1• 5 Pla:intiff, a member of the organization, sought
                  a restra:ining order against the university, contending thatthe prohibition against
                  masks violated his first amendment rights. The University responded that the
                  students' use of masks would violate section 1985(3) because the students
                  intended to deprive the Prince of his constitutional rights. The pla:intiff testified
                  that the purpose of the demonstration was to protest the regime of the Shah.
                  According to the court, while the presence of the Prince was a motivating factor,
                  there was no evidence that the demonstrators were going in disguise for the

                    180
                            453 F. Supp. 717 (D.R.!.), ajfd, 588 F.2d 818 (!st Cir. 1978), cert. denied, 442 U.S. 929
                  (1979).
                    181
                            80 F. Supp. 501 (S.D. Cal. 1948), rev'd, 183 F.2d 308 (9th Cir. 1950), rev'd, 341 U.S. 651
                  (1951).
                    182
                            Id. at 509.


                                                      ;1.· .
                    183     Id.
                    184
                            462 F. Supp. 90 (N.D. Tex.
                    185
                            Id. at 91.              <:?; bS-
                                                                                                    (Rel. 43·5!2007   Pub.199)
Case 8:19-cv-01163-MWF-AS Document 1 Filed 04/18/19 Page 8 of 13 Page ID #:8




                 16-77                        LAW ENFORCEMENT AND PROSECUTION                                               '![ 10.06

                   Other courts have· recognized the propriety of a section 1983 claim when the
                fabricated evidence has led to a conviction. 11 Material erroneous or misleading
                statements contained in an affidavit for an arrest or search warrant, or material
                omissions from the affidavit may support an action under the statute. 12
                '![ 10.06     Invasion of Privacy
                   Actions under section 1983 to redress alleged ·violations of the constitutional right
                of privacy have tie.en infrequent. In York v. Story', 1 the plaintiff alleged that .she had
                gone to the police station for the purpose of filing 'c)larges in connection. with an
                assault The defendant police officer told her it wopld be necessary to. take photographs
                of her. He took her to a room in the station, dkei::ted her to undress, and ''to ass!llTie
                vario!ls indecent position~. and photographY\1 her in those positio~s.'' 2 The photo-
                graphs were made for no legitimate purPose and were thereafter circulated among
                personnel of the department. The Comt of Appeals for the Ninth Circuit held that the
                protection· of privacy was comjirehended within the liberty protected by the due
                process clause of the fourteenth aniendment, and that the conduct of the police in this
                case clearly violated that protected ·interest.•
                  In James~- City of Douglas,• following the destruction by fire of a fioral and bridal
                              of
               store, one its owners iilformed the police .that the other was attempting to extort her
               portion of the lnsmance prcic.eedi by threatening to show her family a videoiape of the
               two of them engaged in sexual activity. She expressed )ler reluctimce participate in       to
               the investigation because .of the embal'.fassing natrire pf fue tape but w&s assured .that

                  u Halsey v. Pfeiffer, 750 F.3d 273, ~95 (3d Cir 2014) ("[J)f ~ defon~ant 11a-' be~nconvicted at a trial
               at whiCh the proseCution has used fabricated evidence, 'the defendantlias a stand-alone claim unde.t section
               1983 based on rhe FoUrteenth Ainendment if there is a reasonable likelihood- that, Without !:he use of that
               evidence, the defendant would not have been convicted."); Tatum v. Moody, 768 F.3d 806, 816 (9th Cir.
               2014), cert. denied, 135 S. Cl 2312 (2015) ("Where . . . investigating officers, ,acting wilh deliberate
               indifference or reckless disregard for a suspect' s right to :freedo1n from unjustified loss of liberty, fail to
               disclose potentially dispositive exculpatory evidence to the prosecutors, leading _to the lengthy detention
               of .an innocent man,_ they violate the due procyss guarantees of the Fourteenth Amendment!'); Gonzalez
               v. City of Waukegan. 220 F. Supp. 3d 876 (N.D. Ill. 2016).
                  12 Andrews v. Scuilli, 853 F.3d. 690 (3d Cir. 2017).

                 1
                      324 F.2d 450 (9th Cir. 1963), cert. denied, 376 U.S. 939 (1964).
                  2   Jd.. at 452.
                  3
                    See also Slayton v.'Willingham, 726F.2d 631 (10th Cir. 1984); Poe v. Leonard, 282'F.3d 123 (2d
               Cir. 2002); Dumond v. Conlee, 710RSupp. 1270 (E.D. Ark. 1988);'Ftanz v. Lyile, 79l F; Supp. 827 (D.
               Kan. 1992), ajf'd, 991 F.2d 784 (10th Cir.·1993); Fieldcamp v. City of New York, 242,F. Supp, 2d 388
               (S.D.N.Y. 2003) (officer's refusal to pull up arrestee's shirt when she was rear-handcuffed, nsulting in
               the exposure of her breast, stated cause of action).
                  Cf Reeve v. Oliver, 41 F.3d 38i (8th Cir. 1994) (conduct perhaps aniouriting ·to a tort.• but not
               unconstitutional); Smith v. City of Artesia, 108 N.M. 339, 772 P.2d 373 (App.), cert. denied, 108 N.M.
               318, 772 P.2d 352 (1989) (no cause of action for invasion of privacy for iinproper circulation of-nude
               .P,hotographs after a _girl _was dead, and the parents of the girl could not bz:ing an action because the
               invasion of privacy was a personal right, and the conduct did not shock the conscience ~f th~ court).

                 • 941 F.2d 1539 (llth Cir.    1991~ ;;6 ·. ..                                            (R<J. 6j.JJnOJ7    """·'"'


                                                   ;~s-
Case 8:19-cv-01163-MWF-AS Document 1 Filed 04/18/19 Page 9 of 13 Page ID #:9




                 '![ 10.04[B]                             CIVIL RIGHTS ACTIONS                                               10-68

                 possibility of legitimate involuntary surgical procedures to obtain , incrimiuating
                 evidence.
                   The Conrt of Appeals for the Ninth Circuit ·has given its approval to restraining a
                 D.U.L (driving under the influence) arrestee to extract a blood sample.,•• and forcing
                 an arrestee to submit to x-rays as well as blood tests for diagnostic purposes.47
            ~<Surveilla.nce ~ .
            (~"'1tvei!ltme0 of indiiLidiodls                 suspected to be engaged in criminal activity gives
                flSe [0 llll\VU:.1oy COHS\:U:UUOHal        <:J:UtSllOH~.   Dici.,UUHH.; SUl Vtllld11L-t U.i Lile !.U.llll vi.
                wiretapping and electronic eavesdropping has been held by the Supreme Cciurt subject
                to fourth amendment standards;48 and 0 when improperly employed, may give rise to a
                section 1983 action.•• The surreptitious recording of the conversation of a pretrial
                detainee and its subsequent use as evidence against him has been )!eld to violate the
                privilege against self-inci;Jminati?n. 50 .
                   Visual surveillance practices are more problematic constitutionally. When expertly
                conducted, such s11rveillance is. surreptitious and, thus, no tangible injury is occasioned
                on the target. Even when the surveillance is open and ·intentionally·intimidating, so
                long as it is a part of a bona fide law enforcement effort and no first amendment or
                equal protection interests are implicated, t!iere may be little that the target of the
                investigation can do. 51
                   Thus, for example, in Kennedy ~ Hughes, 52 . the plaintiffs were tlie lice~sed
                .operators of a t.attoo Pl!flor in a small resort town. Soon after they had opened for
                business, they received a visit from the mayor who informed them that their operation
                was inappropriate in "a nice family town." Shortly thereafter, a neighboring property
                owner asked the Board of C<irtnilissioners to shut down the tattoo parlor. Two days
                later; the mayor and cortnilissione'rs adopted a'n ordfoance which required all tattooing
                to be done by a physician or. osteopath. Noncompliance with the requirement was a

                  46
                     Hammer v. Gross;'884 F.2d 1200 (9tliCir.1989), reh'g granted, 932 F.2d 842 (1990), cert. denied,
                502 US. 980 (1991).
                   But cf Nelson v. Cicy of Irvine, 143 F.3d Jl96 (9th Cir.), cert. denied, ·525 U.S: 98t (1998) (D.U.l.
                arrestee who has agreed tO uridergo an aVaiI8.ble breath or· Urine analysis callnot ·be reci_uired to instead
               Submit to a blood test).                      ·
                 47 Thompson v. City of Los Angeies, 885 F.2d 1439 '(9tl1 Cir: 1989).
                  48 See, e.g., Katz v. United State~; 389 U.S ..347, 88 S. Ct 507, 19 L Ed. 2d S76 (1967). :
                  49
                     Liffito~ Ke'de~, 850 F.2d 73 (2d Cir. 19B8); Nard~(.,; v. Moore,57iF.3d31J ('(~Cir. 2009);
                              v:
               Scutieri v. Estate of Revitz, 683 F. Supp. 795 (S.b. Fla. 1988).          ·                  ·
                 50
                     Bell~y v. Vhlls; 548 F. Supp. 2d 234 (W.D. Vi.), appeal dknissed, 303 Fed.. Appx.155 (4th Cir.
               2008). The court distingnished Cha.vez v. Martinez (see 110.04[C]) in that no criminaJ charges were ever
               biought in that case.             .    .              . .                                          .             .
                  51
                     See Mays v. City of Dayton, 134 F.3d 809 ,(6th Cir.), cert. denied,· 524 U.S. 942 (1998);
               Hickombottom v. City of Chicago, 739 F. Supp. 1173 (ND. Ill. 1990); Frazier v. Southeastern Pa Transp.
               Auth., 907 F. Supp. 1!6 (ED. Pa. 1995), affd, 91F.3d123 (3d Cir. 1996).
                  52
                       596 F. Supp. 1487 (D. Del. 1984).


                                                                                                        (Rel.   64-lli~017   Pnb.199)
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Case 8:19-cv-01163-MWF-AS Document 1 Filed 04/18/19 Page 12 of 13 Page ID #:12




                                DUPLICATE

                                Court Name: USDC California Southern
                               Division: 3
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                               Cashier ID: naparici
                               Transaction Date; 04/18/2019
                               Payer Name: MARYANN WANDELL
                              ---------------------------------
                              CIVIL FILING FEE
                               For; MARYANN WANDELL
                               Case/Party; D-CAS-3-19-CV-000718-001
                               Amount:        $400. 00
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                             CREDIT CARD
                              Amt Tendered; $400.00
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                             Total Due;      $400.00
                             Total Tendered; $400.00
                             Change Amt:     $0.00


                             There will be a fee of $53.00
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    of Veteran's Benefits          0   350 Motot Vchicls                CJ 370 Other Fraud                     AOt         -                  0 -862-~lick Lung (923)                         Bxchangc
160 Stockholdera' Suits           0    355 Motor_ Vehicle               CJ 371 Truth in-La:iding      CJ ,720 Liibor~agement_                0 _'8~3t)JWC/DIWW (40-s(g))             ·o·-,g90 othei" Statutoty-Actions
190 Other Contract                         PrOduct Liability            CJ 380 Other Pmonal                    ~lations                      _CJ -864 SSID Tide XVJ                  a-  -891 ~cUllUral Acts
195 Contract Product Liability    0    360 Other Pononlll                      Proi1CrtY Damage       0 -740 RmlWay Labor Act                0 86!1 RSI (405(8))                      O "893 Environmeiifal"Matters
196 Franchiss                              Iajury                       CJ 385 Property_ Damage       0 751 Family and MedicaJ                                                        CJ 895 Frec:ic!Om of Information
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210 Land Condemnation                    OOtherCiVil l'tights               HabeasCOrpas:                    Income Securil)i Act            CJ 870 Taxes (U,S; Plaintiff                     A«IR.cview of Appeal of
220 Foreclosure                        441 Votirig                      0 463 Alien Detainee                                                         or Defendant)                           Agency DaiiSion
230 Rent Lease & Bjtctment        0    442 EmplOyment                   ti' 510 Motions to-Vacate                                            0 ·871 IRS-Third Party                  0 ·950 Constitutionilify of
240 Torts to Land                 0    443 Housing(                             Sentence                                                             26 use 7609                             state statutes:
245 Tort Product.Liability                 Acoommodatirins              0 530 General
290 All 0th" Real Propm1y         0    445 Amsr. w/Disabilides •        CJ -535 Death Ptnalty                                1'12b-01Z:f2b
                                           Employmcn1                       Otbeti                    CJ 462 Natumliz.ati6n APPiication
                                  a    446 Amer. w/Disabilities ~       0 540 Mandamus&. Othsr        CJ 465 Other Immigration
                                           Other                       ·a sso Civil Rights                   Actions
                                  0    448 Bducation                    O_- 555 Prison Condition
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                                                                                Conditions of
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I Original                 Removed ftom                 0     3        Remanded ftom
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